
697 N.W.2d 526 (2005)
472 Mich. 909-924
EVANS
v.
HALLAL.
No. 128289.
Supreme Court of Michigan.
June 17, 2005.
SC: 128289. COA: 259580.
On order of the Court, the application for leave to appeal the February 11, 2005 order of the Court of Appeals is considered and, pursuant to MCR 7.302(G)(1), in lieu of granting leave to appeal, we REMAND this case to the Court of Appeals for consideration, as on leave granted, of the question whether the statute of limitations bars an action from proceeding where the complaint was filed more than two years after the original letters of authority and before the subsequent letters of authority were issued. We further direct the court to give the holding of Waltz v. Wyse, 469 Mich. 642, 677 N.W.2d 813 (2004), full retroactive application. The motion to stay is DENIED as moot, without prejudice to defendant seeking a motion for stay in the trial court and, if necessary, in the Court of Appeals.
We do not retain jurisdiction.
